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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 1:17-cv-60426-UU

  ALEKSEJ GUBAREV, et al.,

          Plaintiffs,

  v.

  BUZZFEED, INC., et al.,

        Defendants.
  ______________________________________________________/

                             AMENDED STATUS CONFERENCE

          PLEASE TAKE NOTICE the above-captioned matter has been set for Status Conference

  before the Honorable Ursula Ungaro, at the United States District Court, 12th Floor, 400 North

  Miami Avenue, Miami, Florida on Wednesday, January 10, 2018, at 4:00 P.M.

          DONE AND ORDERED in Chambers at Miami, Florida, this 12th__ day of December,

  2017.




                                                    ___________________________________
                                                     UNITED STATES DISTRICT JUDGE
  cc:
  counsel of record via cm/ecf
